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     Attorney at Law
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     Fresno, California 93721
 3   Telephone: (559) 237-6000
 4   Attorney for Defendant, LYNN TRUONG
 5
                    IN THE UNITED STATES DISTRICT COURT FOR THE
 6
                            EASTERN DISTRICT OF CALIFORNIA
 7
 8
     UNITED STATES OF AMERICA,   )                CASE NO. 1:07-CR-316 LJO
 9                               )
          Plaintiff,             )
10                               )                STIPULATION AND
        v.                       )                ORDER TO
11                               )                CONTINUE SENTENCING
     LYNN TRUONG,                )
12                               )
           Defendant.            )
13   ____________________________)
14         The parties hereto, by and through their respective attorneys, stipulate and
15   agree that the sentencing currently scheduled for August 27, 2012, be continued
16   to October 1, 2012 at 8:30 a.m.
17         This continuance is necessitated by the recent foreclosure sale of the
18   property in Willits, California. Because said sale occurred within the last week, the
19   paperwork needed by the parties to evaluate the actual loss suffered, is not yet
20   available. The requested court date will afford the parties and the probation officer
21   sufficient time to obtain and analyze documents, as well as to make the necessary
22   calculations to determine the appropriate advisory guideline range. In addition,
23   the present sentencing date would require the probation officer to file the draft
24   presentence report on July 23, 2012, before all needed information was available
25   to him.
26         The parties also agree that any delay resulting from this continuance shall
27   be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
28   3161(h)(8)(A) and 3161(h)(8)(B)(I).

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 1
 2   DATED: July 17, 2012              /s/ Karen Escobar        __      __
                                       KAREN ESCOBAR
 3                                     Assistant United States Attorney
                                       This was agreed to by Ms. Escobar
 4                                     via email on July 17, 2012
 5
     DATED: July 17, 2012              /s/ Roger K. Litman    __
 6                                     ROGER K. LITMAN
                                       Attorney for Defendant
 7                                     LYNN TRUONG
 8   Good cause is stated. Granted.
 9   IT IS SO ORDERED.
10   Dated:   July 18, 2012               /s/ Lawrence J. O'Neill
     b9ed48                           UNITED STATES DISTRICT JUDGE
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